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 3
     Sacramento, California 95814
 4   Telephone: (916) 442-4022
 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                               )
     UNITED STATES OF AMERICA,                   )   Case No.: 2:16-cr-00025-TLN
 9                                               )
                   Plaintiff,                    )   STIPULATION AND [PROPOSED]
10                                               )   ORDER FOR MODIFICATION OF
            v.                                   )   CONDITIONS OF RELEASE
11                                               )
     JORGE VEGA-MACIAS,                          )
12                                               )
                   Defendant.                    )
13
14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     conditions of release for Jorge Vega-Macias are modified to allow Mr. Vega-Macias to
16
     travel to the Southern California.
17
            Mr. Vega-Macias is requesting to amend his curfew that would allow him to leave
18
     his home from 10:00 a.m. and return by 2:00 a.m. on December 23-26, 2016 and
19
     December 31, 2016. Throughout the entire period he will be monitored and his request
20
     has been confirmed by Pretrial Services. Justin Lee, Assistant United States Attorney,
21
     and Thomas A. Johnson, attorney for Jorge Vega-Macias, agree to this modification of
22
     the conditions of release. All other previously ordered conditions of release remain in full
23
     force and effect.
24
            The defendant has been in compliance with his release conditions and Pretrial
25
     Services. In addition, the defendant will continue to be subject to location monitoring
26
     (curfew) by Pretrial Services.
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 1   IT IS SO STIPULATED.
 2
 3   Dated: December 21, 2016                      /s/ Thomas A. Johnson
                                                   THOMAS A. JOHNSON
 4                                                 Attorney for Jorge Vega-Macias
 5
 6
                                                   PHILLIP A. TALBERT
 7
                                                   Acting United States Attorney
 8
     Dated: December 21, 2016                      /s/ Thomas A. Johnson for
 9
                                                   JUSTIN LEE
10                                                 Assistant U.S. Attorney
11
12                                     ORDER
13
14   IT IS SO ORDERED.
     Dated: December 22, 2016
15
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